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The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 5, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                                       §
         In re:                                                            Chapter 11
                                                                       §
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                              Case No. 19-34054-sgj11
                                                                       §
                                                                       §
                                          Debtor.
                                                                       §
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                       §
                                                                       §   Adversary Proceeding
                                          Plaintiff,
                                                                       §
                                                                       §
         vs.                                                               Case No. 21-03010-sgj
                                                                       §
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT FUND
                                                                       §
         ADVISORS, L.P., AND NEXPOINT ADVISORS,
                                                                       §
         L.P.,
                                                                       §
                                Defendants.

         ORDER APPROVING STIPULATION (A) AMENDING SCHEDULING ORDER AND
                (B) CONSOLIDATING AND RESOLVING CERTAIN MATTERS



     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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             Upon consideration of the Stipulation (A) Amending Scheduling Order and (B)

  Consolidating and Resolving Certain Matters [A.P. Docket No. 36] (the “Stipulation”) 2 filed in

  the above-captioned adversary proceeding (the “Adversary Proceeding”), it is HEREBY

  ORDERED THAT:

             1.       The Stipulation, a copy of which is attached hereto as Exhibit A, is approved.

             2.       The Debtor’s Breach of Contract Claim shall be consolidated with the Advisors’

  Admin Claim for all purposes and shall be litigated and resolved pursuant to this Stipulation in the

  Adversary Proceeding, and the Court shall enter a final judgment on the Breach of Contract Claim

  and the Advisors’ Admin Claim in the Adversary Proceeding.

             3.       The Debtor’s Equitable Claims shall be deemed to be fully and finally resolved

  pursuant to the February Order.

             4.       Trial in the Adversary Proceeding (including on the Advisors’ Admin Claim) is set

  for December 7 and 8, 2021 at 9:30 a.m. (Central Time), which, unless the Court holds

  otherwise, shall be conducted live.

             5.       Requests for discovery shall be served on or before August 6, 2021, unless

  otherwise agreed in writing by the Parties.

             6.       Reponses and/or objections to discovery requests shall be served on or before

  August 27, 2021, unless otherwise agreed in writing by the Parties.

             7.       All responsive, non-privileged documents shall be produced on or before

  September 10, 2021, unless otherwise agreed in writing by the Parties.




  2
      All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Stipulation.


                                                             -2-
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         8.      Initial disclosures are waived, except for testifying experts, with respect to which

  such disclosures and report shall be served on or before September 24, 2021. Any rebuttal expert

  disclosure and report shall be served on or before October 8, 2021.

         9.      Depositions shall be scheduled and concluded on or before October 18, 2021,

  unless otherwise agreed in writing by the Parties.

         10.     Responses to the Objection (“Responses”) shall be filed on or before November 1,

  2021, unless otherwise agreed in writing by the Parties.

         11.     Replies to the Responses shall be filed on or before November 15, 2021, unless

  otherwise agreed in writing by the Parties.

         12.     Witness and exhibit lists and all referenced exhibits will be filed on the docket and

  served on or before December 1, 2021, unless otherwise agreed in writing by the Parties.

  Objections to exhibits, other than for relevance, shall be filed on or before December 3, 2021, or

  they shall be deemed waived.

         13.     A joint pretrial order in compliance with the Court’s Local Rules shall be filed on

  or before December 1, 2021.

         14.     Any Party wishing to file a trial brief shall file and serve the same on or before

  December 1, 2021.

         15.     All deadlines set forth above are effective as of 5:00 p.m. (Central Time) on each

  applicable date.

         16.     The Stipulation shall only be modified in a writing signed by the Parties or upon

  the entry of an order of the Court entered upon notice to the Parties.

         17.     The Court shall retain jurisdiction over all disputes arising out of or otherwise

  concerning the interpretation and enforcement of the Stipulation and this Order.


                                      ### END OF ORDER ###


                                                  -3-
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                                 EXHIBIT A
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  PACHULSKI STANG ZIEHL & JONES LLP
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  Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
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  Facsimile: (972) 755-7110

  Counsel for the Debtor and Debtor-in-Possession

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

   In re:                                                            §
                                                                     §   Chapter 11
   HIGHLAND CAPITAL MANAGEMENT, L.P., 1                              §
                                                                     §   Case No. 19-34054-sgj11
                                       Debtor.                       §
                                                                     §
                                                                     §
   HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                     §
                                                                     §   Adversary Proceeding No.
                                       Plaintiff,
                                                                     §
                                                                     §
   vs.                                                                   Case No. 21-03010-sgj
                                                                     §
                                                                     §
   HIGHLAND CAPITAL MANAGEMENT FUND
                                                                     §
   ADVISORS, L.P., AND NEXPOINT ADVISORS,
                                                                     §
   L.P.,
                                                                     §
                          Defendants.


  1
    The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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   STIPULATION (A) AMENDING SCHEDULING ORDER AND (B) CONSOLIDATING AND
                        RESOLVING CERTAIN MATTERS

         This stipulation (the “Stipulation”) is made and entered into by and between Highland

  Capital Management L.P. (the “Debtor”), on the one hand, and Highland Capital Management

  Fund Advisors, L.P. (“HCMFA”) and NexPoint Advisors, L.P. (“NexPoint” and together with

  HCMFA, the “Advisors”, and the Advisors together with the Debtor, the “Parties”), by and through

  their respective undersigned counsel, to (a) amend that certain Agreed Scheduling Order with

  Respect to Debtor’s Objection to Application for Administrative Claim of Highland Capital

  Management Fund Advisors, L.P. and NexPoint Advisors, L.P. [Bankr. Docket No. 2345] (the

  “Scheduling Order”) filed in the above-captioned chapter 11 bankruptcy case (the “Bankruptcy

  Case”); (b) consolidate for all purposes the litigation of the “Second Claim for Relief (Breach of

  Contract)” asserted by the Debtor against the Advisors in that certain Complaint for Damages and

  Declaratory and Injunctive Relief (the “Breach of Contract Claim”, and together with the matters

  subject to the Scheduling Order, the “Litigated Matters”) filed by the Debtor in the above-

  captioned adversary proceeding (the “Adversary Proceeding”); and (c) address the Debtor’s

  remaining claims asserted in the Adversary Proceeding.

                                             RECITALS


         WHEREAS, on October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary

  petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

  in the Bankruptcy Court for the District of Delaware, Case No. 19-12239 (CSS) (the “Delaware

  Court”);

         WHEREAS, on December 4, 2019, the Delaware Court entered an order transferring venue

  of the Debtor’s Bankruptcy Case to this Court [Bankr. Docket No. 186];
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         WHEREAS, the Debtor and NexPoint entered into that certain Amended and Restated

  Shared Services Agreement effective as of January 1, 2018 (the “NexPoint SSA”);

         WHEREAS, the Debtor and HCMFA entered into that certain Second Amended and

  Restated Shared Services Agreement effective as of February 8, 2013 (the “HCMFA SSA”, and

  together with the NexPoint SSA, the “Shared Services Agreements”);

         WHEREAS, on January 24, 2021, the Advisors filed their Application for Allowance of

  Administrative Claim [Bankr. Docket No. 1826] (the “Advisors’ Admin Claim”) in the Bankruptcy

  Case concerning matters related to the Shared Services Agreements;

         WHEREAS, on May 5, 2021, the Debtor filed its Objection to Application for

  Administrative Claim of Highland Capital Management Fund Advisors, L.P. and NexPoint

  Advisors, L.P. [Bankr. Docket No. 2345] (the “Objection”);

         WHEREAS, on May 21, 2021, the Court entered the Scheduling Order with respect to the

  Advisors’ Admin Claim and the Debtor’s Objection thereto;

         WHEREAS, on February 17, 2021, the Debtor commenced the Adversary Proceeding in

  which it (i) asserted the Breach of Contract claim for damages arising from the Advisors’ alleged

  breach of the Shared Services Agreements, and (ii) sought declaratory and injunctive relief (the

  “Equitable Relief”);

         WHEREAS, on February 24, 2021, following an evidentiary hearing, the Court entered an

  Order resolving the Debtor’s claims for Equitable Relief asserted in the Adversary Proceeding

  [A.P. Docket No. 25] (the “February Order”);

         WHEREAS, on March 22, 2021, the Advisors filed their Original Answer in the Adversary

  Proceeding [A.P. Docket No. 33];

         WHEREAS, the Parties agree that the Advisors’ Admin Claim and the Debtor’s Breach of
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  Contract Claim both involve related issues of fact concerning the Shared Services Agreements and

  that it would be more efficient, and conserve the resources of the Parties and the Court, to

  consolidate the Litigated Matters for all purposes (including discovery, motion practice, and a trial

  on the merits);

         WHEREAS, the Parties have conferred and desire to enter into a mutually agreeable

  proposed schedule and address related matters, all as specifically set forth below.

         NOW, THEREFORE, it is hereby stipulated and agreed, and upon approval of this

  Stipulation by the Court, it shall be SO ORDERED:

         1.         The Debtor’s Breach of Contract Claim shall be consolidated with the Advisors’

  Admin Claim for all purposes and shall be litigated and resolved pursuant to this Stipulation in the

  Adversary Proceeding, and the Court shall enter a final judgment on the Breach of Contract Claim

  and the Advisors’ Admin Claim in the Adversary Proceeding.

         2.         The Debtor’s Equitable Claims shall be deemed to be fully and finally resolved

  pursuant to the February Order.

         3.         Trial in the Adversary Proceeding (including on the Advisors’ Admin Claim) is set

  for December 7 and 8, 2021 at 9:30 a.m. (Central Time), which, unless the Court holds

  otherwise, shall be conducted live.

         4.         Requests for discovery shall be served on or before August 6, 2021, unless

  otherwise agreed in writing by the Parties.

         5.         Reponses and/or objections to discovery requests shall be served on or before

  August 27, 2021, unless otherwise agreed in writing by the Parties.

         6.         All responsive, non-privileged documents shall be produced on or before

  September 10, 2021, unless otherwise agreed in writing by the Parties.
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         7.      Initial disclosures are waived, except for testifying experts, with respect to which

  such disclosures and report shall be served on or before September 24, 2021. Any rebuttal expert

  disclosure and report shall be served on or before October 8, 2021.

         8.      Depositions shall be scheduled and concluded on or before October 18, 2021,

  unless otherwise agreed in writing by the Parties.

         9.      Responses to the Objection (“Responses”) shall be filed on or before November 1,

  2021, unless otherwise agreed in writing by the Parties.

         10.     Replies to the Responses shall be filed on or before November 15, 2021, unless

  otherwise agreed in writing by the Parties.

         11.     Witness and exhibit lists and all referenced exhibits will be filed on the docket and

  served on or before December 1, 2021, unless otherwise agreed in writing by the Parties.

  Objections to exhibits, other than for relevance, shall be filed on or before December 3, 2021, or

  they shall be deemed waived.

         12.     A joint pretrial order in compliance with the Court’s Local Rules shall be filed on

  or before December 1, 2021.

         13.     Any Party wishing to file a trial brief shall file and serve the same on or before

  December 1, 2021.

         14.     All deadlines set forth above are effective as of 5:00 p.m. (Central Time) on each

  applicable date.

         15.     If approved by the Court, this Stipulation shall only be modified in a writing signed

  by the Parties or upon the entry of an order of the Court entered upon notice to the Parties.

         16.     The Court shall retain jurisdiction over all disputes arising out of or otherwise

  concerning the interpretation and enforcement of this Stipulation.
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  Dated: August 4, 2021.
                                          MUNSCH HARDT KOPF & HARR, P.C.

                                          /s/ Julian P. Vasek
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                                          Julian P. Vasek, Esq.
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                                          Counsel for NexPoint Advisors, L.P.

                                          - and -

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                                          Ira D. Kharasch (CA Bar No. 109084)
                                          John A. Morris (NY Bar No. 266326)
                                          Gregory V. Demo (NY Bar No. 5371992)
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                                          - and -
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                                          HAYWARD PLLC

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                                          Counsel for Highland Capital Management, L.P.
           Case 21-03010-sgj Doc 39 Filed 08/08/21                                 Entered 08/08/21 23:19:38                        Page 12 of 13
                                                              United States Bankruptcy Court
                                                                Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                        Adv. Proc. No. 21-03010-sgj
Highland Capital Management Fund Advisor,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 2
Date Rcvd: Aug 06, 2021                                               Form ID: pdf001                                                            Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 08, 2021:
Recip ID                 Recipient Name and Address
ust                    + Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        Aug 06 2021 21:15:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        Aug 06 2021 21:15:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Aug 06 2021 21:15:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 08, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
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District/off: 0539-3                                              User: mmathews                                                         Page 2 of 2
Date Rcvd: Aug 06, 2021                                           Form ID: pdf001                                                       Total Noticed: 4
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 6, 2021 at the address(es) listed
below:
Name                             Email Address
A. Lee Hogewood, III
                                 on behalf of Defendant NexPoint Advisors L.P. lee.hogewood@klgates.com,
                                 haley.fields@klgates.com;matthew.houston@klgates.com;mary-beth.pearson@klgates.com;litigation.docketing@klgates.com;Em
                                 ily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                                 on behalf of Defendant Highland Capital Management Fund Advisors L.P. lee.hogewood@klgates.com,
                                 haley.fields@klgates.com;matthew.houston@klgates.com;mary-beth.pearson@klgates.com;litigation.docketing@klgates.com;Em
                                 ily.mather@klgates.com;Artoush.varshosaz@klgates.com

Davor Rukavina
                                 on behalf of Defendant Highland Capital Management Fund Advisors L.P. drukavina@munsch.com

Davor Rukavina
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Julian Preston Vasek
                                 on behalf of Defendant NexPoint Advisors L.P. jvasek@munsch.com

Julian Preston Vasek
                                 on behalf of Defendant Highland Capital Management Fund Advisors L.P. jvasek@munsch.com

Juliana Hoffman
                                 on behalf of Interested Party Committee of Unsecured Creditors jhoffman@sidley.com
                                 txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Matthew A. Clemente
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                                 ey@sidley.com

Paige Holden Montgomery
                                 on behalf of Interested Party Committee of Unsecured Creditors pmontgomery@sidley.com
                                 txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                                 ce@sidley.com

Zachery Z. Annable
                                 on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 10
